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                                                                                                                                                             EXHIBIT 01




                       CHRONOLOGY ABDUCTION FROM FRANCE
Abduction of Eva and Juliette on April 8th, 2024 by their Mother, Heidi Brown, in France in complete violation of two French
judgments in full force and effect on French soil and while the girls were on the arlert system at all european borders since the
second French Judgment said the girls couldn't leave France. Mother didn't have any US order registered in France when she
abducted children. Mother should have filed for a Hague Action in France last summer if she thought children were abducted.


                                                     July 21st, 2023                          July 25th, 2023                          September 15th , 2023
  April 21 5 \ 2023
                                                   Father obtains confirmation from the     Mother and her counsel lie to the     Mother asks the FBI to have
  French Judgment granting custody
                                                   Oregon lawyers and from the French       French authorities presenting a       abduction charges pressed
  of the children to Father in Paris with
                                                   Consulate that the Oregon Status         falsified document from the Jackson   against Father, the US AO denies
  visitation rights for Mother every
                                                   Quo has no validity anymore and          County court that they asked          because of the French judgment.
  school vacation (Mother only asked
                                                   that the French Judgment properly        afterwards to be signed to Judge      BUT Mother doesn't start Hague
  to the French judge for custody in
                                                   registered in Oregon superseedes         Bloom who denied their request.       Action in France.
  Oregon, not in Paris).
                                                   the Oregon Status Quo order.

                                                                                                                                                     ABDUCTION
                                                                                                                                                     From France on April 8

              May, 9th 2023                                   July 23 rd , 2023                           July 29th, 2023                 December 28 th , 2023
              Registration of the French                       Eva and Juliette return to France          Mother ask the Medford DA         Mother asks Judge Orr to make
              Judgment in Oregon on May 9th                    with approval of French and US             to press charges for child        an order to the FBI for an arrest
              served to Mother on May 1oth and                 authorities that deemed that the           abduction, the DA refuses         of Father and children in France
              she objects to it on May 31st, but               Status Quo order from Oregon was           because of the French             and their extraditiion to the US.
              this remains the only custodial                  not valid anymore by operation of          judgment. Mother asks the         Judge Orr denies because he
              determination existing in Oregon                 law (the French judgment having            French Police to press            says he doesn't have jurisdiction
              or anywhere in the world about                   voided it), French consul present.         charges, also denied.             over the children in France.
              Eva and Juliette Paris.




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